      Case 2:11-cv-00357-RMP       ECF No. 92   filed 08/19/13   PageID.691 Page 1 of 9




 1

 2

 3

 4

 5                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 6

 7   In Re:
                                                  NO: CV-11-357-RMP
 8   LLS AMERICA, LLC,
                                                  Bankr. Case No. 09-06194-PCW11
 9                             Debtor,            (Consolidated Case)

10   BRUCE P. KRIEGMAN, solely in his             Adv. Proc. No. 11-80299-PCW11
     capacity as court-appointed Chapter 11
11   Trustee for LLS America, LLC,                ORDER ADOPTING THE
                                                  BANKRUPTY COURT’S REPORT
12                             Plaintiff,         AND RECOMMENDATION

13   v.

14   WILLIAM HANES, et al.,

15                             Defendants.

16

17            This matter comes before the Court on the Report and Recommendation of

18   the Honorable Patricia C. Williams, Bankruptcy Judge. The Report and

19   Recommendation is filed as ECF No. 378 in bankruptcy adversary number 11-

20   80299. The Court has reviewed the Report and Recommendation, the erratum, the



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 1
      Case 2:11-cv-00357-RMP       ECF No. 92    filed 08/19/13   PageID.692 Page 2 of 9




 1   objections, the motion for summary judgment, the evidence filed in support and

 2   opposition to summary judgment, including the affidavits of Doris Nelson and

 3   Marie Rice, the opposition papers, and all other materials connected to the motion

 4   for summary judgment. The Court also has reviewed the Bankruptcy Court’s order

 5   striking Ms. Rice’s declaration and the order striking Ms. Nelson’s declaration in

 6   part.

 7                                       DISCUSSION

 8           The Ninth Circuit recently issued its opinion in Exec. Benefits Ins. Agency v.

 9   Arkison (In re Bellingham Insurance Agency, Inc.), 702 F.3d 553 (9th Cir. 2012).

10   In that case, the Ninth Circuit approved of treating core proceedings for which

11   bankruptcy courts lacked jurisdiction to enter final judgment as non-core

12   proceedings. Id. at 566. Accordingly, bankruptcy courts may hear such claims and

13   enter proposed findings of fact and conclusions of law for review in the district

14   court. Id. Those portions of the findings to which there are objections are subject

15   to de novo review in the district court. Fed. R. Bank. P. 9033(d).

16           In this case, the Bankruptcy Court entered its report and recommendation on

17   a motion for summary judgment. Summary judgment is appropriate “if the movant

18   shows that there is no genuine dispute as to any material fact and the movant is

19   entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A key purpose of

20   summary judgment “is to isolate and dispose of factually unsupported claims . . . .”



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 2
      Case 2:11-cv-00357-RMP       ECF No. 92    filed 08/19/13   PageID.693 Page 3 of 9




 1   Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). Summary judgment is “not

 2   a disfavored procedural shortcut,” but is instead the “principal tool[ ] by which

 3   factually insufficient claims or defenses [can] be isolated and prevented from going

 4   to trial with the attendant unwarranted consumption of public and private

 5   resources.” Celotex, 477 U.S. at 327.

 6         The moving party bears the initial burden of demonstrating the absence of a

 7   genuine issue of material fact. See Celotex, 477 U.S. at 323. The moving party

 8   must demonstrate to the Court that there is an absence of evidence to support the

 9   non-moving party's case. See Celotex Corp., 477 U.S. at 325. The burden then

10   shifts to the non-moving party to “set out ‘specific facts showing a genuine issue

11   for trial.’” Celotex Corp., 477 U.S. at 324 (quoting Fed. R. Civ. P. 56(e)).

12         A genuine issue of material fact exists if sufficient evidence supports the

13   claimed factual dispute, requiring “a jury or judge to resolve the parties' differing

14   versions of the truth at trial.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

15   Ass'n, 809 F.2d 626, 630 (9th Cir.1987). At summary judgment, the court draws

16   all reasonable inferences in favor of the nonmoving party. Dzung Chu v. Oracle

17   Corp. (In re Oracle Corp. Secs. Litig.), 627 F.3d 376, 387 (9th Cir. 2010) (citing

18   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986)). The evidence

19   presented by both the moving and non-moving parties must be admissible. Fed. R.

20   Civ. P. 56(e). The court will not presume missing facts, and non-specific facts in



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 3
      Case 2:11-cv-00357-RMP        ECF No. 92   filed 08/19/13   PageID.694 Page 4 of 9




 1   affidavits are not sufficient to support or undermine a claim. Lujan v. Nat'l

 2   Wildlife Fed'n, 497 U.S. 871, 888-89 (1990).

 3         The Court received two timely objections. ECF Nos. 394, 395 in 11-80229.

 4   Defendants Gerald and Katherine Brown objected on the grounds that the

 5   Bankruptcy Court impermissibly disregarded the declarations of Doris Nelson and

 6   Marie Rice.1 The second objection was brought by Attorney Dillon Jackson on

 7   behalf of a large subset of Defendants. Mr. Jackson challenges the Court’s finding

 8   that Ms. Nelson’s testimony fails to create an issue of material fact for the jury.

 9   Declaration of Marie Rice

10         Evidence filed in support of a summary judgment motion must be

11   admissible. See Fed. R. Civ. P. 56. Expert testimony is governed by Federal Rule

12   of Evidence 702 which reads:

13

14
           1
15             The Browns also objected on the basis that this Court (and the Bankruptcy

16   Court) lack personal jurisdiction over them. As the motion for summary judgment

17   is only a motion for partial summary judgment, and the motion is targeted to issues

18   common to all parties, the Court declines to address Defendants’ argument because

19   it does not impact the Court’s determination of the questions raised in the summary

20   judgment motion or the Bankruptcy Court’s Report and Recommendation.




     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 4
      Case 2:11-cv-00357-RMP       ECF No. 92    filed 08/19/13   PageID.695 Page 5 of 9




 1         A witness who is qualified as an expert by knowledge, skill,
           experience, training, or education may testify in the form of an
 2         opinion or otherwise if:

 3         (a) the expert's scientific, technical, or other specialized knowledge
           will help the trier of fact to understand the evidence or to determine a
 4         fact in issue;

 5         (b) the testimony is based on sufficient facts or data;

 6         (c) the testimony is the product of reliable principles and methods;
           and
 7
           (d) the expert has reliably applied the principles and methods to the
 8         facts of the case.

 9   Fed. R. Evid. 702.

10         In Daubert, the Supreme Court held that “Federal Rule of Evidence 702

11   imposes a special obligation upon a trial judge to ‘ensure that any and all scientific

12   testimony ... is not only relevant, but reliable.’” Kumho Tire Co., Ltd. v.

13   Carmichael, 526 U.S. 137, 147 (1999) (quoting Daubert, 509 U.S. at 589). In

14   making this determination, the judge must make “a preliminary assessment of

15   whether the reasoning or methodology underlying the testimony is scientifically

16   valid and . . . whether that reasoning or methodology properly can be applied to the

17   facts in issue.” Daubert I, 509 U.S. at 592-93.

18         The court is to conduct a “holistic” analysis of the expert’s testimony. See

19   United States v. W.R. Grace, 504 F.3d 745, 762 (9th Cir. 2007). The court should

20   review the expert’s opinion testimony for “overall sufficiency of the underlying



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 5
      Case 2:11-cv-00357-RMP       ECF No. 92    filed 08/19/13   PageID.696 Page 6 of 9




 1   facts and data, and the reliability of the methods, as well as the fit of the methods

 2   to the facts of the case.” W.R. Grace, 504 F.3d at 765. When there is too great an

 3   analytical gap between the data and the opinion proffered, the trial court may

 4   properly exclude the testimony as unreliable. General Elec. Co. v. Joiner, 522

 5   U.S. 136, 146 (1997). The proponent of expert testimony has the burden of

 6   establishing that the admissibility requirements are met by a preponderance of the

 7   evidence. Fed. R. Evid. 104, 702 advisory committee’s note.

 8         In her declaration, Ms. Rice concludes that Plaintiff’s financial experts did

 9   not have sufficient, reliable information to conclude that the Debtor was operating

10   a Ponzi scheme. In its order striking Ms. Rice’s deposition, the Bankruptcy Court

11   relied on the fact that Ms. Rice never reviewed the information possessed by the

12   experts. The record bears this out. Ms. Rice reviewed the declarations of

13   Plaintiff’s three experts: Charles B. Hall, Michael Quackenbush, and Dan Harper.

14   Ms. Rice also reviewed Ms. Nelson’s affidavit, Plaintiff’s statement of undisputed

15   facts, two articles, 10-K forms for four payday loan shops, and some estimated

16   financial statements for the Debtor. However, there is no evidence that Ms. Rice

17   actually reviewed the information upon which Msrs. Hall, Quackenbush, and

18   Harper relied.

19         In contrast, Mr. Hall reviewed the actual business records of the business

20   entities that comprise the Debtor. Mr. Quackenbush reviewed voluminous records



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 6
      Case 2:11-cv-00357-RMP       ECF No. 92    filed 08/19/13   PageID.697 Page 7 of 9




 1   of bank accounts and investment transactions. Mr. Harper reviewed, among other

 2   things, the Debtor’s financial ledgers, emails, Ms. Nelson’s personal records, and

 3   reconstructed records produced by other experts.

 4         Rule 702 requires expert opinions to be based on sufficient facts or data.

 5   Ms. Rice’s opinion that Mr. Hall, Mr. Harper, and Mr. Quackenbush’s opinions

 6   were inaccurate because they relied on incomplete data is not supportable because

 7   Ms. Rice had insufficient data to support such a conclusion. Ms. Rice simply does

 8   not know the contents of the records reviewed by Plaintiff’s experts because she

 9   never read them. This Court agrees with the Bankruptcy Court, and overrules the

10   Browns’ objection to the Bankruptcy Court’s decision to exclude Ms. Rice’s

11   testimony. Accordingly, the Bankruptcy Court was correct in its decision to

12   disregard Ms. Rice’s testimony when ruling on the motion for summary judgment.

13   Affidavit of Doris Nelson

14         The parties make two arguments in support of their challenge to the

15   Bankruptcy Court’s handling of Ms. Nelson’s affidavit. The Browns argue that the

16   Bankruptcy Court erred because its basis for discounting Ms. Nelson’s opinion is

17   not supported by law. Specifically, the Browns assert that an affidavit should not

18   be disregarded for being “unsupported and self-serving” because that “goes to the

19   weight and credibility of” the affiant, not to the admissibility of the affidavit. The

20   Browns do not cite any authority for this proposition. The Ninth Circuit, however,



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 7
      Case 2:11-cv-00357-RMP       ECF No. 92    filed 08/19/13   PageID.698 Page 8 of 9




 1   regularly has held that affidavits that are unsupported by specific facts cannot

 2   create a genuine issue of material fact. F.T.C. v. Publishing Clearing House, Inc.,

 3   104 F.3d 1168, 1171 (9th Cir. 1997) (citing Hansen v. United States, 7 F.3d 137,

 4   138 (9th Cir. 1993)). Accordingly, the Browns’ objection is simply unsupported

 5   by the law.

 6         Mr. Jackson’s objection to the rejection of some of Ms. Nelson’s affidavit is

 7   that Ms. Nelson’s affidavit creates an issue of fact because it rebuts the

 8   presumption of intentional fraud created by the existence of a Ponzi scheme. Mr.

 9   Jackson argues that “[a]lthough a presumption of intent to defraud arises where a

10   Ponzi scheme exists, proof of a lack of fraudulent intent rebuts the Ponzi

11   presumption.” Mr. Jackson cites no authority in support of this statement.

12         The Ninth Circuit consistently has held that the existence of a Ponzi scheme

13   establishes intentional fraud. Donell v. Kowell¸ 533 F.3d 762, 770(9th Cir. 2008);

14   In re AFI Holding, 525 F.3d 700, 704 (9th Cir. 2008) (“‘[T]he mere existence of a

15   Ponzi scheme’ is sufficient to establish actual intent under [11 U.S.C. § 548(a)(1)]

16   or a state’s equivalent to that section.”) (quoting In re Agric. Research and Tech.

17   Grp., Inc., 916 F.2d 528, 534 (1990)). Plaintiff’s expert materials establish that

18   there is no genuine issue of material fact as to the existence of the Ponzi scheme.

19   Accordingly, pursuant to Ninth Circuit precedent, actual fraud exists under both

20   state and federal law.



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 8
      Case 2:11-cv-00357-RMP       ECF No. 92    filed 08/19/13   PageID.699 Page 9 of 9




 1         The state-law relied upon by Defendants is unpersuasive. The Sedwick v.

 2   Gwinn, 73 Wn. App. 879 (1994), case does not involve a Ponzi scheme. Instead,

 3   the case involves a series of loans and collateral agreements. Id. at 883-84. It is

 4   the nature of a Ponzi scheme that gives rise to the finding of intentional fraud.

 5   Accordingly, Sedwick is inapposite.

 6         The Court has reviewed the Report and Recommendation and the record in

 7   this case. Being in complete agreement with the Report and Recommendation, as

 8   modified by the erratum, IT IS HEREBY ORDERED that he Report and

 9   Recommendation, as modified by the erratum, is ADOPTED IN ITS

10   ENTIRETY.

11         IT IS SO ORDERED.

12         The District Court Clerk is hereby directed to enter this Order and to provide

13   copies to counsel and to any pro se defendants.

14         DATED this 19th day of August 2013.

15

16                                                 s/ Rosanna Malouf Peterson
                                              ROSANNA MALOUF PETERSON
17                                           Chief United States District Court Judge

18

19

20



     ORDER ADOPTING THE BANKRUPTY COURT’S REPORT AND
     RECOMMENDATION ~ 9
